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         EXHIBIT 2
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                                                                       5
                                                                                    D.C. Superior Court
                                                                                    06/22/2020 13:51PM
                                                                                    Clerk of the Court

             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION


 DISTRICT OF COLUMBIA,
                                                 Case No.: 2020 CA 002697 B
 Plaintiff
                                                 Judge: Robert R. Rigsby
 v.
                                                 Next Event: Initial Conference
 ELEVATE CREDIT, INC.,                           Date: Sept. 11, 2020 at 10:00 AM

 Defendant.


       CONSENT MOTION TO EXTEND TIME TO RESPOND TO COMPLAINT

        Defendant Elevate, Inc. (“Elevate”), submits this Consent Motion to Extend Time to

Respond to the Complaint pursuant to Rule 55(1)(3), and in support states as follows:

        1.    Plaintiff District of Columbia commenced this action on June 5, 2020.

        2.    Elevate accepted service of the complaint, summons, initial order and information

sheet on June 5, 2020.

        3.    Elevate’s response to the complaint is due on June 26, 2020.

        4.    Elevate requests an additional twenty-one (21) days to respond to the complaint

until July 17, 2020 to analyze the facts and issues and examine possible defenses in order to

accurately prepare a response.

        5.    No prior extensions have been sought in this matter.

        6.    This request is made in good faith without purposes of delay.

        7.    Plaintiff does not oppose this request.

        WHEREFORE, Defendant Elevate Credit, Inc. respectfully requests that the Court grant

this motion and enter the attached Order extending the time for Elevate to respond to the

complaint by twenty-one (21) days until July 17, 2020.
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Dated: June 22, 2020                              Respectfully submitted,


                                                  /s/ A. Scott Bolden_____
                                                  A. Scott Bolden (D.C. Bar No. 428758)
                                                  REED SMITH LLP
                                                  1301 K Street NW, Suite 1000 East Tower
                                                  Washington, DC 20005
                                                  Telephone: (202) 414-9266
                                                  Facsimile: (202) 414-9299
                                                  abolden@reedsmith.com

                                                  Counsel for Elevate Credit, Inc.




                                RULE 12-1 CERTIFICATION

       I hereby certify that Defendant’s counsel communicated with Plaintiff’s counsel, Wendy

J. Weinberg, on June 15, 2020, and she consented to the relief requested in the instant motion.

                                             /s/ A. Scott Bolden_____
                                             A. Scott Bolden (D.C. Bar No. 428758)




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 22, 2020 I caused a copy of the foregoing Motion to Extend

Time to Respond to Complaint to be filed and served via CaseFileXpress upon all counsel of

record.


                                                      /s/ A. Scott Bolden_____
                                                      A. Scott Bolden (D.C. Bar No. 428758)




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              IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                CIVIL DIVISION


  DISTRICT OF COLUMBIA,
                                                 Case No.: 2020 CA 002697 B
  Plaintiff
                                                 Judge: Robert R. Rigsby
  v.
                                                 Next Event: Initial Conference
  ELEVATE CREDIT, INC.,                          Date: Sept. 11, 2020 at 10:00 AM

  Defendant.


                                     PROPOSED ORDER

       Upon consideration of Defendant’s Consent Motion to Extend Time to Respond to

Complaint filed by Defendant Elevate Credit, Inc., it is this ____ day of _________, 2020, by the

Superior Court of the District of Columbia,

       ORDERED that the Motion be and is hereby GRANTED; and it is further

       ORDERED that Defendant Elevate Credit, Inc. shall have until July 17, 2020 to respond

to the Complaint.

                                                    ________________________________
                                                    Judge Robert R. Rigsby




Copies to:


Wendy J. Weinberg, Esq. (Via CaseFileXpress)
A. Scott Bolder, Esq. (Via CaseFileXpress)
